            Case 1:22-cr-00016-CJN Document 62 Filed 02/10/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF columbia




UNITED STATES OF AMERICA,                       Case No.: 1:21-mj-00617-002 RMM


                    v.                          NOTICE OF FILING


ALEXIS BUSTOS,

                         Defendant



                   COMES NOW, counsel for Alexis Bustos, to file with the court
character letters received from the defendant’s family and friends in aid of
sentencing. The letters are from:
Jonathan Barcenas – cousin
Arturo Guzman – employer
Nemecio Bustos – father
Monica Catalan – employer
Ottaviano Difalco – employer
Daniel Godizez – employer
Marina Olivar – friend
George Sanchez - friend
Dated: February 10, 2023




 United States v. Alexis Bustros                              Joseph R. Conte
 Case No. 1:21-cr-00617-002 RMM                               Law Office of J.R. Conte
                                                              8251 NW 15th Ct.
                                                              Coral Springs, FL 33071
 Notice of Filing Page No. 1                                  Phone: 202.236-1147
                                                              Email: dcgunlaw@gmail.com
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           Case 1:22-cr-00016-CJN Document 62 Filed 02/10/23 Page 2 of 2



                                                 Joseph R.       Digitally signed by Joseph R.
                                                                 Conte

                                                 Conte           Date: 2023.02.10 08:03:35
                                                  ___________________________
                                                                 -05'00'

                                                  Joseph R. Conte, Bar #366827
                                                  Counsel for Alexis Bustos
                                                  Law Office of J.R. Conte
                                                  8251 NW 15th Ct.
                                                  Coral Springs, FL 33071
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